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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT


 NATIONAL ASSOCIATION FOR THE                                   Civil Action No. ________
 ADVANCEMENT OF COLORED PEOPLE,
 NAACP CONNECTICUT STATE
 CONFERENCE, JUSTIN FARMER,
 GERMANO KIMBRO, CONLEY MONK, JR.,                              COMPLAINT FOR
 GARRY MONK, and DIONE ZACKERY,                                 DECLARATORY AND
                                                                INJUNCTIVE RELIEF

         Plaintiffs,

                 v.

 DENISE MERRILL, SECRETARY OF
 STATE, and DANNEL P. MALLOY,
 GOVERNOR,

         Defendants.




                                         INTRODUCTION

       1.       Connecticut’s state legislative redistricting plan, adopted in 2011 and scheduled

for use in the 2018 and 2020 elections, violates the “one person, one vote” requirement of the

Fourteenth Amendment because the plan is based on unlawful prison gerrymandering.

       2.       “Prison gerrymandering” is the practice whereby Connecticut counts incarcerated

people as residing in the state facility where they are imprisoned, rather than at their pre-

incarceration address, for the purpose of drawing lines for state legislative districts.

       3.       Connecticut’s prisoners are disproportionately African-American and Latino, and

many maintain a permanent domicile in the state’s urban centers. Nevertheless, many of these

individuals are incarcerated in correctional facilities that the State has located primarily in rural,

lightly populated, predominantly white parts of Connecticut.



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       4.      Persons incarcerated in districts far from their home communities have no

meaningful connection to the towns in which they are incarcerated. They are separated from their

families and friends and have little contact with citizens residing immediately outside the walls

of the prisons. Incarcerated persons cannot visit or patronize public or private establishments,

such as parks, churches, businesses, or public transportation, in their surrounding communities.

       5.      Moreover, most Connecticut prisoners cannot vote under state law and have no

contact with the representatives of the districts in which they are incarcerated. Local legislators

do not visit prisoners incarcerated in their districts. Consequently, the districts’ representatives

do not, in practice, represent these incarcerated persons or perform legislative services for them.

       6.      Despite the welcome decline in the State’s overall prison population, the

disproportionate incarceration of African-American and Latino residents, and their confinement

in distant, predominantly white districts, harms the communities they leave behind, as well. The

voting power of these communities is diluted when incarcerated persons are removed from the

apportionment base. Families bear severe emotional and financial hardships, neighborhoods

experience economic and social instability, and entire communities lose their voice in state

affairs when fathers, sons, daughters, and mothers are shipped to remote, rural prisons.

       7.      The Supreme Court has long recognized that variations of ten percent or more in

the population of electoral districts raises constitutional concerns under the “one person, one

vote” requirements of the Fourteenth Amendment.

       8.      Because Connecticut counts prisoners where they are incarcerated rather than

where they permanently reside, the actual number of constituents (exclusive of prisoners) in as

many as nine Connecticut House districts is more than ten percent smaller than the number of




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constituents in the State’s largest House district. The number of constituents in one Senate

District is more than nine percent smaller than the largest Senate district.

        9.     Permanent residents of the prison-gerrymandered districts thus have more

influence over local affairs and greater voting power than residents in other districts, particularly

in the urban districts that many prisoners call home.

        10.    Defendants’ prison gerrymandering violates the “one person, one vote” principle

of the Fourteenth Amendment to the United States Constitution. It impermissibly inflates the

voting strength of predominantly white voters residing in certain Connecticut House and Senate

Districts, as compared to the voting strength of persons residing in all other House and Senate

districts.

        11.    By counting prisoners in the districts where they are imprisoned instead of their

pre-incarceration residences, prison gerrymandering dilutes the votes of residents in their home

communities, who are disproportionally African-American and Latino, as compared to residents

in other communities and districts.

        12.    Plaintiffs seek a declaration that Defendants’ prison gerrymandering violates the

Fourteenth Amendment to the U.S. Constitution and an injunction against the use of the 2011

Redistricting Plan in the 2020 elections.

                                 JURISDICTION AND VENUE

        13.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1343(a)(3) and (4), and 1357. This suit is authorized by 42 U.S.C. § 1983.

        14.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because Plaintiffs

NAACP Connecticut State Conference, Justin Farmer, Germano Kimbro, Conley Monk, Jr.,

Garry Monk, and Dione Zackery and all Defendants reside in the District of Connecticut, the




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facts that give rise to this suit occurred in the District of Connecticut, and no real property is

involved in this dispute.

       15.     This Court has authority to issue declaratory and injunctive relief pursuant to 28

U.S.C. §§ 2201 and 2202.

                                              PARTIES

       16.     Plaintiff National Association for the Advancement of Colored People

(“NAACP”) is a non-profit, non-partisan corporation with over 300,000 members, including

approximately 5,000 members residing in Connecticut, many of whom are registered to vote.

Many NAACP members in Connecticut who are registered voters reside in state legislative

districts that are overcrowded as a result of prison gerrymandering, as set forth below.

       17.     The NAACP works to enhance civic engagement among African American

communities by increasing voter registration and through get-out-the-vote efforts. In its national

get-out-the-vote effort in 2016, the NAACP targeted fifteen states, including Connecticut, which

in 2012 had lower than expected African American voter turnout, with a campaign titled “Our

Votes Matter.” The NAACP relies on a fair and effective electoral process to help achieve its

organizational missions of improving civic engagement, education, criminal justice,

environmental justice, economic opportunity, and healthcare.

       18.     Members of the NAACP pay dues, elect the members of the NAACP Board of

Directors, and are eligible, if elected, to serve on the NAACP Board of Directors. The NAACP’s

policies and procedures are established at an annual national convention by voting delegates

representing each NAACP State Conference, Local Branch, and Youth Unit, elected by the

members of those units.




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       19.     In addition, the NAACP has had to divert organizational resources, including staff

time, travel expenses, and other costs, to address unlawful prison gerrymandering in Connecticut.

       20.     The NAACP brings this action in its representative capacity on behalf of its

members who are adversely affected by the unequal population of the legislative districts created

by the 2011 Redistricting Plan, and in its organizational capacity.

       21.     Plaintiff Connecticut State Conference of the National Association for the

Advancement of Colored People (“NAACP-CT”) is a non-profit, non-partisan organization with

nearly 5,000 members, all of whom reside or work in Connecticut, and many of whom are

registered to vote. Many NAACP members in Connecticut who are registered voters reside in

state legislative districts that are overcrowded as a result of prison gerrymandering, including

members that reside in House Districts 88, 91, 94, 95, 96, and 97, among others.

       22.     NAACP-CT seeks to support the mission of the NAACP by organizing its

members in Connecticut to advocate for political, educational, social and economic equality of

rights. NAACP-CT devoted its April 2018 conference to criminal justice reform with the

opportunity for attendees to meet candidates for Governor of Connecticut.

       23.     The members of NAACP-CT elect the Executive Committee of the NAACP-CT,

and are eligible to serve on the Executive Committee if duly elected. The members of NAACP-

CT elect voting delegates to represent NAACP-CT and the NAACP national convention.

       24.     In addition, the NAACP-CT has had to divert organizational resources to address

unlawful prison gerrymandering in Connecticut.

       25.     NAACP-CT brings this action in its representative capacity on behalf of its

members who are adversely affected by the unequal population of the legislative districts created




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by the 2011 Redistricting Plan, and in its organizational capacity as well. NAACP-CT has

members that reside in House Districts 88, 91, 94, 95, 96, and 97, among others.

       26.     Plaintiff Justin Farmer is a 23 year-old Jamaican-American resident of Hamden,

Connecticut and a duly qualified elector eligible to vote in local, state, and federal elections. He

has lived in Connecticut his entire life and currently resides at 231 Butler Street, Hamden,

Connecticut. Mr. Farmer is a registered voter in Connecticut State House District 94 and

regularly votes in state and local elections. Mr. Farmer is a student at Southern Connecticut State

University in the Political Science Department, where he hopes to earn his B.A. in 2020. In

2017, he was elected to the Hamden Legislative Council, the town legislature, representing the

Fifth District, which includes some of the poorest and wealthiest residents of Hamden. Mr.

Farmer wears headphones to manage his Tourette’s Syndrome, a movement disorder, which has

contributed to law enforcement stopping Mr. Farmer more than thirty times on the street. Mr.

Farmer has close family members who have been incarcerated. He is a member of the NAACP

and NAACP-CT.

       27.     Plaintiff Germano Kimbro is a 58 year-old African-American resident of New

Haven, Connecticut and a duly qualified elector eligible to vote in local, state, and federal

elections. He has lived in Connecticut his entire life and currently resides at 126 Spring Street,

New Haven, Connecticut. Mr. Kimbro is a registered voter in Connecticut State House District

95 and regularly votes in state and local elections. He also regularly participates in voter

registration drives and volunteers for local, state and federal campaigns. Mr. Kimbro, a graduate

of Springfield College, has worked for decades to reform the criminal justice system. As a young

man, Mr. Kimbro was incarcerated, at which point he turned to education and service. Once he

returned to the community, Mr. Kimbro dedicated himself to assisting people in overcoming the




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stigma of criminal convictions and poverty. He has worked in a variety of human services

positions and helped to launch the Pardon Me Program, through which he educated hundreds of

Connecticut residents so that they could apply for pardons. He has worked for numerous state

legislative reforms, including to establish the Connecticut Fatherhood Initiative (P.A. 99-193), to

“Ban the Box” (P.A. No. 16-83), and to limit solitary confinement (P.A. 17-239). He is a

member of Just Leadership USA and a lifelong member of the NAACP and NAACP-CT.

       28.     Plaintiff Conley Monk, Jr. is a 69 year-old African-American resident of Hamden,

Connecticut and a duly qualified elector eligible to vote in local, state, and federal elections. He

has lived in Connecticut for nearly his whole life, and currently resides at 2360 Shepard Ave in

Hamden, Connecticut. Mr. Monk is a registered voter in Connecticut State House District 88,

and regularly votes in state and local elections. Mr. Monk is also a Marine Corps combat veteran

of the Vietnam War, the Director of the National Veteran’s Council for Legal Redress, a

Connecticut-based Veterans service organization, and participates in community development

through his family organization, the Monk Council. Mr. Monk is a member of the NAACP and

NAACP-CT.

       29.     Plaintiff Garry Monk is a 59 year-old African-American resident of New Haven,

Connecticut and a duly qualified elector eligible to vote in local, state, and federal elections. He

has resided in Connecticut for more than twenty years, and currently lives at 140 Fountain

Terrace in New Haven, Connecticut. Mr. Monk is a registered voter in Connecticut State House

District 92, and regularly votes in state and local elections. Mr. Monk is a veteran of the U.S. Air

Force and serves as the Executive Director of the National Veteran’s Council for Legal Redress,

participates in community development through the Monk Council, and is an active member of

the Thomas Chapel Church of Christ. Mr. Monk is a member of the NAACP and NAACP-CT.




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        30.     Plaintiffs Conley and Garry Monk are brothers, and have a nephew who was

incarcerated in Enfield Correctional Institution. This nephew was supported by the Monk family

while incarcerated, and has recently returned to live in New Haven.

        31.     Plaintiff Dione Zackery is a 49 year-old African-American resident of New

Haven, Connecticut and a duly qualified elector eligible to vote in local, state, and federal

elections. She currently resides at 1435 Quinnipiac Ave. Unit 5, New Haven, Connecticut. Ms.

Zackery is a registered voter in Connecticut State House District 97 and regularly votes in state

and local elections. Ms. Zackery has been a registered voter since age eighteen, when she first

registered to vote in Connecticut. She has multiple family members who have been incarcerated

in Connecticut prisons, including several cousins who are currently incarcerated. Ms. Zackery’s

former partner, the father of her children, is formerly incarcerated. One cousin resided with Ms.

Zackery before entering prison. He has now been released and is living on his own nearby.

During the period of his incarceration, they wrote to each other and spoke on the phone. Ms.

Zackery is a member of the NAACP and NAACP-CT.

        32.     Defendant Denise Merrill is a resident of Connecticut and is Connecticut’s

Secretary of State and Chair of the State Elections Board. She is sued in her official capacity.

Secretary of State Merrill is the Constitutional officer of the State charged with publishing the

legislative district map and conducting elections in Connecticut in a manner consistent with

federal constitutional and statutory requirements.

        33.     Defendant Dannel P. Malloy is the Governor of Connecticut. He is sued in his

official capacity. Governor Malloy is the Constitutional officer of the State charged with

appointing Reapportionment Commissions for the purposes of adopting state assembly and

senatorial districting plans.




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                                    FACTUAL ALLEGATIONS

          A.    Mass Incarceration and Prison Construction in Connecticut

          34.   In recent decades, the United States’ incarceration rate has surged. Since the

1970s, the United States penal population exploded from approximately 300,000 to more than 2

million. The United States imprisons more people, per capita, than any other nation.

          35.   Persons with a felony conviction are more likely to become homeless and lose

custody of their children, and less likely to find employment and complete their educations.

          36.   African Americans and Latinos experience an especially high rate of

imprisonment and tend to live in racially and economically segregated neighborhoods. As a

result, the social and political effects of imprisonment are focused in their communities.

          37.   Connecticut is no exception. The state has the fifth-highest rate of incarceration

of African American men in the country. Whites outnumber African Americans and Latinos by

an almost 3-to-1 ratio in the state’s general population, but there are twice as many African

Americans and Latinos as whites in Connecticut prisons.

          38.   African Americans in Connecticut are almost ten times more likely to be

incarcerated than whites, and Latinos are almost four times more likely to be incarcerated than

whites.

          39.   The problem of prison gerrymandering is particularly severe in Connecticut

because of the State’s concentration of prisoners at facilities that are significant distances from

their home communities.

          40.   Before 1980, Connecticut maintained correctional facilities at eight sites dispersed

across the state, as illustrated in Figure 1.




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                             Prisons in Connecticut Before 1980




       41.     The prison population in Connecticut increased from 3,828 in 1980 to 18,416 in

2010. This increase coincided with a surge of prison construction and expansion projects in the

1980s and 1990s.

       42.     Of the twenty-one prison expansion projects Connecticut undertook between 1842

and 2003, fifteen – nearly all – were completed between 1988 and 1998. During this decade, the

State expanded seven facilities: Manson Youth Institution, York Correctional Institution,

Brooklyn Correctional Institution, Hartford Correctional Center, New Haven Correctional

Center, Cheshire Correctional Institution, and MacDougall-Walker Correctional Institution.

       43.     As Connecticut incarcerated more of its residents over the past three decades, the

State concentrated prisons in a few discrete geographic areas whose economies became

dependent on these correctional facilities.




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        44.     Out of ten prison expansion projects finished between 1990 and 1997, the State

completed half within three adjacent cities—Enfield, Somers and Suffield—along the northern

border of central Connecticut, a region that already had three existing prisons.

        45.     Connecticut’s correctional facilities are now even more concentrated in two areas:

the Enfield-Suffield-Somers region along the northern border and Cheshire, in the central part of

the state. The distribution of correctional facilities as of the 2010 census is set forth in Figure 2.

                                Prisons in Connecticut in 2010




        46.     The overall prison population has declined during the tenure of Defendant

Governor Malloy, but the residual population in the Department of Correction’s fourteen

currently operating prisons remains concentrated in lightly-populated or rural areas.

        47.     A large and disproportionate number of Connecticut prisoners are African

American or Latino persons who maintained a permanent address, pre-incarceration, in one of




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the State’s three urban centers of Hartford, Bridgeport, and New Haven and their immediate

suburbs.

       48.       The pre-incarceration addresses of Connecticut’s prisoners are illustrated in

Figure 3. The sizes of the colored circles correspond to the percentage of Connecticut’s

prisoners who resided in that particular geographic area immediately prior to incarceration.

                 Where Incarcerated Residents Lived Prior to Incarceration




       49.       Connecticut relocates nearly all of its prisoners to a correctional facility in a rural,

predominantly white, lightly-populated area, especially in the Enfield-Somers-Suffield area

along the northern border. The State maintains a second concentration of prisoners in the

Cheshire area.

       50.       The siting of prisons in locations far from the urban centers where most prisoners

maintained a permanent domicile, combined with a lack of public transportation, creates further

hardship for incarcerated people and their families.




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       51.     The location of prisoners by population as of the 2010 census is illustrated in

Figure 4. The sizes of the colored shapes correspond to the percentage of incarcerated people

who are housed in a prison located in that particular geographic area.

                             Where Prisoners are Incarcerated




Prison and District Populations

       52.     Hartford Correctional Institution (Hartford) is located in House District 5.

       53.     York Correctional Institution (East Lyme) is located in House District 37.

       54.     Corrigan-Radgowski Correctional Center (Montville) is located in House District

42.

       55.     Osborn Correctional Institution (Osborn) and Northern Correctional Institution

(Northern) are located in House District 52.

       56.     Robinson Correctional Institution (Robinson) and Willard-Cybulski Correctional

Institution (Willard-Cybulski) are located in House District 59. Enfield Correctional Institution



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(Enfield), which was operational during the 2010 Census and 2011 redistricting plan, and which

continued operating until January 23, 2018, is also located in House District 59.

        57.     MacDougall Walker Correctional Institution (MacDougall-Walker) is located in

House District 61.

        58.     Manson Youth Correctional Institution (Manson) and Cheshire Correctional

Institution (Cheshire) are located in House District 103.

        59.     Garner Correctional Institution (Newtown) is located in House District 106.

        60.     MacDougall-Walker, Robinson, Enfield, Willard-Cybulski, Osborn, and Northern

are all located in Senate District 7.

        B.      State Legislative Redistricting in Connecticut

        61.     The Connecticut legislature, exercising authority granted by Article III of the state

Constitution, appointed a Reapportionment Committee following the 2010 Census.

        62.     The Reapportionment Committee failed to meet its September 15, 2011 deadline

to submit a redistricting plan. Pursuant to Article III of the Connecticut Constitution, Governor

Malloy appointed a Reapportionment Commission on October 5, 2011.

        63.     On November 30, 2011, the Reapportionment Commission unanimously adopted

a state legislative redistricting plan and submitted it to Defendant Merrill.

        64.     The state legislative redistricting plan became effective soon thereafter upon

publication by Defendant Merrill. See Conn. Const., Art. 3 § 6(c) (“Upon receiving such plan

[from the Reapportionment Commission] the secretary [of state] shall publish the same

forthwith, and, upon publication, such plan of districting shall have the full force of law.”).




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       65.     According to the Connecticut Department of Corrections, and as counted in the

2010 Census, each prison described in paragraphs 52 through 60 held the following number of

incarcerated people in March 2010:


                                      Facility           Prisoners

                             Hartford                          1,095

                             York                              2,014

                             Corrigan-Radgowski                1,511

                             Osborn                            1,980

                             Northern                            356

                             Robinson                          1,486

                             Enfield                             724

                             Willard-Cybulski                  1,164

                             MacDougall-Walker                 2,137

                             Manson                              608

                             Cheshire                          1,494

                             Garner                              608

       66.     The Connecticut Legislature commissioned a report from the Office of Legislative

Research in 2010 that indicated the majority of people incarcerated in these prisons were not

residents of the districts in which they were incarcerated.

       67.     No Connecticut state law requires counting prisoners where they are incarcerated.

Counting prisoners where they are incarcerated is a choice made by the Reapportionment

Commission appointed by Governor Malloy and reflected in the plan published by Defendant

Merrill.



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       68.     The Connecticut Legislature has considered legislation mandating that prisoners

be counted at their pre-incarceration addresses for reapportionment purposes in its 2011, 2013,

2015, and 2016 legislative sessions. Lawmakers failed to enact legislation in each instance,

leaving the 2011 Redistricting Plan unchanged.

       69.     A significant number of the people incarcerated in Connecticut’s fourteen

operational prison facilities are ineligible to vote because they have been convicted of a felony.

CONN. GEN. STAT. § 9-46 (“persons with a felony conviction [are] not eligible to vote in

Connecticut elections”).

       70.     Connecticut statutes treat the few incarcerated people who are eligible to vote as

residents of their pre-incarceration domiciles and prohibit these voters from claiming residence

for voting purposes in the district in which they are incarcerated. CONN. GEN. STAT. §§ 9-14, 9-

14a.

       71.     When combined with the practice of prison gerrymandering, the geographic

concentration of prison facilities results in the dilution of the votes of residents in urban voting

districts that are overpopulated as compared to districts that contain prison facilities.

       72.     Because they reside in such overpopulated districts, Plaintiffs Justin Farmer,

Germano Kimbro, Conley Monk, Jr., Garry Monk, and Dione Zackery (hereafter “individual

Plaintiffs”) and members of Plaintiffs NAACP and NAACP- CT (hereafter collectively “the

NAACP”) have substantially less voting power than residents of at least five State House

Districts, and as many as nine House Districts. These include Districts 5, 37, 42, 52, 59, 61, 103,

106, and 108, and Senate District 7 (hereinafter “gerrymandered districts”).




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       73.     Data locating prisoners at their exact pre-incarceration addresses is not publicly

available. Home district of origin may be approximated, however, using public records detailing

the home towns and cities of prisoners at the time of their admission.

       74.     When district population size is calculated using these prisoner reallocation

estimates, nine State House districts (Districts 5, 37, 42, 52, 59, 61, 103, 106, and 108) have

more than ten percent fewer people than the most populated House district (District 97).

       75.     Even when prisoners are removed from the apportionment base rather than

counted in their approximate pre-incarceration districts, five House districts (Districts 5, 52, 59,

61, and 103) are more than ten percent smaller than the largest House District (District 88).

       76.     For every 85 residents in District 59 (which encompasses Robinson, Enfield, and

Willard-Cybulski Correctional Institutes), there are over 100 residents in District 97 (located in

New Haven). The vote of a District 97 resident thus counts for less than 85% of the vote of a

District 59 resident. Similar imbalances occur in the other gerrymandered districts.

       77.     Because their individual votes count for less, individual Plaintiffs, NAACP

members, and their fellow residents must invest greater energy to elect representatives of their

choice. Plaintiffs in District 97 have over 15% more doors to knock on, voters to call, and

mailings to send if they wish to have an equal influence over the political process as residents of

District 59. Because of this increased need for resources, their campaign donations go less far.

       78.     Because their district is overpopulated in this manner, the influence of individual

Plaintiffs’ and NAACP members over their representatives is also diluted. For example, District

97 Representative Al Paolillo has 3,751 more constituents than District 59 Representative Carol

Hall. Thus, to serve his full body of constituents, Rep. Paolillo must fully listen and respond to

15% more people despite working with the same level of funding, staff, and hours in the day.




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           79.    The Connecticut State House of Representatives has 151 members, and the

Connecticut State Senate has 36 members, each of whom is elected by an individual district.

           80.    The 151 individual House districts each elect one member to the State House of

Representatives, and the 36 individual Senate districts each elect one member to the State Senate.

           81.    The “ideal” district size is defined by the total state population divided by the

number of districts.

           82.    According to Connecticut State’s published data after the 2011 redistricting, the

ideal House district size is 23,670 residents.

           83.    The gerrymandered districts, however, have substantially fewer residents than the

ideal population, and are thus more than ten percent smaller than the largest state district, District

97.

           84.    For instance, as of November 2011, District 59 contained only 21,001 residents

when prisoners are counted in their home districts. When compared with District 97, which

would have a population of approximately 24,752 residents when prisoners are counted in their

home districts, the actual number of constituents in District 59 was 15.84% smaller.

           85.    The following table sets forth the populations and deviation from District 97, the

largest district, of other House Districts, including and excluding prisoners:

                     Population                      Population                      Deviation
 District        (prisoners counted            (prisoners counted in             from the largest
                 where incarcerated)        approximate home districts)              district

      5                 23,000                          22,139                        11.04%

      37                23,310                          21,333                        14.44%

      42                23,663                          22,218                        10.70%

      52                23,531                          21,250                        14.79%



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    59                  24,314                          21,001                       15.84%

    61                  23,448                          21,330                       14.45%

   103                  23,005                          21,543                       13.56%

   106                  22,971                          22,382                       10.01%

   108                  23,531                          22,234                       10.64%



         86.      The ideal Senate district size is 99,280 residents. Senate District 7 contained

102,622 residents as of 2011.

         87.      Senate District 7 contained 94,692 residents when incarcerated persons are

counted in their home districts. There are 9.53% fewer residents in Senate District 7 than in

District 26, the largest Senate district.

         88.      The most recent census data, based on the 2011-2015 American Community

Survey (ACS) five-year estimates, demonstrates that the above discrepancies have worsened

based on population changes since district lines were drawn.

         89.      As a result of the current districting plan, residents of the prison gerrymandered

districts possess artificially inflated voting and representational power compared to those in other

districts, whereas the people incarcerated in the gerrymandered districts have effectively no

representation.

         90.      For instance, upon information and belief, State Senator John Kissel (S-7) has not

visited incarcerated people in any of the five prisons located in his district over his past two

terms.

         91.      The effect is that Connecticut’s 2011 Redistricting Plan reflects neither electoral

equality nor representational equality.




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          92.   It would have been possible for the Reapportionment Committee or

Reapportionment Commission to adjust district boundaries so as to prevent creating nine

malapportioned House districts containing prisons, thus safeguarding the principle of one person,

one vote, but they did not do so. This remedy would require minor alterations to approximately

30 additional contiguous districts, and can be accomplished without introducing incumbent

conflicts.

          93.   Prison gerrymandering also deprives the state of Connecticut of at least one

minority opportunity district. The same districting plan which would restore “one person one

vote” also has the effect of raising the Citizen Voting Age Population in House District 14 from

20.2% under the current plan to nearly 45%, thus enhancing the potential for the Connecticut

legislature to more accurately reflect the choices of Connecticut’s voting population.

          94.   Plaintiffs are suffering irreparable harm as a result of Defendants’ actions, and

that harm will continue unless defendants’ current practice of counting prison populations for the

purpose of apportionment is declared unlawful and enjoined.

          95.   Plaintiffs have no adequate remedy at law other than this action for declaratory

and injunctive relief.

                                    FIRST CAUSE OF ACTION

                         (Violation of 42 U.S.C. § 1983 and Equal Protection)

          96.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth

herein.

          97.   Section 1 of the Fourteenth Amendment to the United States Constitution

provides: “No State shall . . . deny to any person within its jurisdiction the equal protection of the

laws.”




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        98.     The “one person, one vote” principle of the Equal Protection Clause of the

Fourteenth Amendment mandates that each person’s vote shall be equal to that of his or her

fellow citizens.

        99.     Defendants’ reliance on the incarcerated population in determining the geographic

boundaries of House Districts 5, 37, 42, 52, 59, 61, 103, 106, and 108, and Senate District 7

under the 2011 Redistricting Plan inflates the voting strength and political influence of the

residents in these districts and dilutes the voting strength and political influence of Plaintiffs and

other persons residing outside of these districts, in violation of the Equal Protection requirements

of Section 1 of the Fourteenth Amendment to the U.S. Constitution and 42 U.S.C. § 1983.


                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs respectfully ask this Court to:

        1)      Exercise jurisdiction over Plaintiffs’ claims;

        2)      Declare that the use of prison gerrymandering in the 2011 Redistricting Plan

adopted by Connecticut violates the Fourteenth Amendment to the United States Constitution

and 42 U.S.C. § 1983;

        3)      Enjoin Defendants and their agents, employees, and representatives from

conducting elections for the Connecticut House of Representatives and Senate under the 2011

Redistricting Plan in the 2020 electoral cycle;

        4)      In the event Defendants fail or are unable to implement a redistricting plan that

comports with the Constitution and laws of the United States, enforce a court-ordered

redistricting plan;




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         5)     Award Plaintiffs the expenses, costs, fees, and other disbursements associated

with the filing and maintenance of this action, including reasonable attorneys’ fees pursuant to

42 U.S.C. § 1988;

         6)     Exercise continuing jurisdiction over this action during the enforcement of its

judgment; and

         7)     Award any other and further relief this Court deems proper and just.

Dated this 28th day of June 2018.



Respectfully submitted,

/s/ Michael J. Wishnie
                                                      Bradford M. Berry**
                                 *
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*
    Motion for law student appearance forthcoming
**
    Motion for admission pro hac vice forthcoming




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